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Attorneys for Defendant

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

Della Kamkoff, John Andrew, Kayla
Birch, Rose Carney, Tereresa Ferguson,
Zoya Jenkins, Troy Fender, Rhonda
Conover, Autumn Ellanna, and Nataliia
Moroz, on behalf of themselves, and all      Case No.: 3:23-cv-00044-SLG
those similarly situated,

       Plaintiffs,

v.

Heidi Hedberg, in her official capacity as
Commissioner of the Alaska Department of
Health,

        Defendant.
                                     STIPULATION

       Counsel for plaintiffs and counsel for defendant met telephonically on February

22nd and February 23rd and have agreed to stay this case until May 1, 2023. The State of

Alaska Department of Health (“DOH”) is very aware of, and is making immediate and

significant efforts to address, the SNAP benefits backlog. 1 These include hiring additional

positions, bringing on contractors, and seeking waivers from the USDA, Food and

Nutrition Service (“FNS”). DOH is also actively working with FNS to develop a Corrective

Action Plan to address the SNAP benefits backlog. The Office of the Governor has also

requested supplemental appropriations from the legislature for DOH to help address the

SNAP benefits backlog. 2 In light of DOH’s demonstrated commitment to resolving the

SNAP benefits backlog, the parties agree to stay this litigation until May 1, 2023 to allow

time for implementation and continuation of DOH’s efforts to reduce the SNAP benefits

backlog. Counsel for plaintiffs and defendant agreed to meet no fewer than three times

during the stay period to discuss the status of DOH’s efforts to address the SNAP benefits

backlog. Plaintiffs believe that these meetings with the DOH, along with the DOH’s

continued commitment to make immediate changes to address the backlog, will be the most

efficient and quickest path to achieving full relief for class members. Accordingly,

Plaintiffs agree to this stay only as a means to secure immediate relief, and the stay does



1
        See, e.g., https://www.akleg.gov/basis/Meeting/Detail?Meeting=SHSS%202023-
01-24%2015:30:00#tab4_4;
https://www.akleg.gov/basis/Meeting/Detail?Meeting=HHSS%202023-02-
02%2015:00:00#tab2_4.
2       https://omb.alaska.gov/fy2023-supplemental-budget/.
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not in any way indicate that class members are not suffering ongoing harm from the SNAP

benefits backlog or that the backlog does not require immediate attention.

       In the event that the stay expires without further stipulation by the parties, the

defendant’s Answer to the Complaint will be due on May 10, 2023. The plaintiffs

previously filed a Motion for Preliminary Injunction and Motion for Class Certification in

state court. The defendant’s opposition to those motions will be due on the later date of:

May 10, 2023, or ten days after the plaintiffs file any supplemental briefing on the motions

now pending before the Court. The defendant agrees not to raise the plaintiffs’ agreement

to this stay as a defense to the motion for a preliminary injunction.

       DATED March 1, 2023.

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                                           ATTORNEY GENERAL


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                                                  /s/ Alex J Hildebrand
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                                           For defendant

                                           NORTHERN JUSTICE PROJECT

                                           By:    /s/ Nicholas Feronti
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                                           For plaintiffs
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CERTIFICATE OF SERVICE

I certify that on March 1, 2023 the
foregoing STIPULATION TO STAY
was served VIA EMAIL on:

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